Case 8:19-cv-01998-MWF-KS Document 132 Filed 02/03/20 Page 1 of 5 Page ID #:4933



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    6 Consumer Advocacy Center, Inc.
    7
                            UNITED STATES DISTRICT COURT
    8
                          CENTRAL DISTRICT OF CALIFORNIA
    9
  10
     Bureau of Consumer Financial Protection;      Case No. 8:19-cv-01998-MWF-KS
  11 State of Minnesota, by its Attorney
     General, Keith Ellison; State of North        RESPONSE OF CHAPTER 7
  12 Carolina, ex rel. Joshua H. Stein, Attorney   TRUSTEE FOR CONSUMER
     General; and The People of The State of       ADVOCACY CENTER, INC. TO
  13 California, Michael N. Feuer, Los Angeles     COMPLAINT
     City Attorney,
  14                                               JUDGE: Hon. Michael W. Fitzgerald
                          Plaintiffs,
  15
            v.
  16
     Consumer Advocacy Center Inc., d/b/a
  17 Premier Student Loan Center; True Count
     Staffing Inc., d/b/a SL Account
  18 Management; Prime Consulting LLC,
     d/b/a Financial Preparation Services;
  19 Albert Kim, a/k/a Albert King; Kaine
     Wen, a/k/a Wenting Kaine Dai, Wen Ting
  20 Dai, and Kaine Wen Dai; and Tuong
     Nguyen, a/k/a Tom Nelson,
  21
                          Defendants, and
  22
     Infinite Management Corp., f/k/a Infinite
  23 Management Solutions Inc.; Hold The
     Door, Corp.; and TN Accounting Inc.,
  24
                          Relief Defendants.
  25
  26
  27
  28
                                                        Case No. 8:19-cv-01998-MWF (KS)
                 RESPONSE OF CHAPTER 7 TRUSTEE FOR CONSUMER ADVOCACY CENTER, INC.
Case 8:19-cv-01998-MWF-KS Document 132 Filed 02/03/20 Page 2 of 5 Page ID #:4934



    1         Sonya S. Slott, as Chapter 7 Trustee (the “Trustee”) for Consumer
    2 Advocacy Center, Inc. (“Consumer Advocacy” or the “Debtor”), hereby files this
    3 response to the Complaint filed by Plaintiffs, Bureau of Consumer Financial
    4 Protection (the “Bureau”), State of Minnesota (“Minnesota”), State of North
    5 Carolina (“North Carolina”), and The People of The State of California
    6 (“California”) (collectively, “Plaintiffs”), and in support thereof states as follows:
    7         1.     On January 16, 2019 (the “Bankruptcy Petition Date”), Consumer
    8 Advocacy filed a voluntary petition for relief under Chapter 11 of the Bankruptcy
    9 Code in the United States Bankruptcy Court for the Southern District of Florida,
  10 Fort Lauderdale Division (the “Bankruptcy Court”), Case Number 19-10655-
  11 JKO (the “Bankruptcy Case”).
  12          2.     On July 31, 2019, the Bankruptcy Court entered an Order Directing
  13 the Appointment of a Chapter 11 Trustee and Setting Status Conference [ECF No.
  14 69 in the Bankruptcy Case]. The Trustee, Sonya S. Slott, was thereafter appointed
  15 as the Debtor’s Chapter 11 trustee [ECF No. 70 in the Bankruptcy Case].
  16          3.     The Debtor’s case was converted to a chapter 7 proceeding on August
  17 20, 2019 [ECF No. 86 in the Bankruptcy Case] and the Trustee, Sonya S. Slott,
  18 was thereafter appointed as the Debtor’s Chapter 7 Trustee [ECF No. 89 in the
  19 Bankruptcy Case].
  20          4.     On July 12, 2019, Plaintiff Minnesota filed Proof of Claim number 4-
  21 1 in the Bankruptcy Case, asserting a claim against the Debtor in the amount of
  22 $31,323,828.20 and Plaintiff North Carolina filed Proof of Claim number 5-1 in
  23 the Bankruptcy Case, asserting a claim against the Debtor in the amount of
  24 2,908,728.28; and on July 14, 2019, Plaintiff the Bureau filed Proof of Claim
  25 number 4-1 in the Bankruptcy Case, asserting a claim against the Debtor in the
  26 amount of $31,323,828.20 (collectively, the “Claims”). As a result of the filing of
  27 the Claims, Plaintiffs the Bureau, Minnesota and North Carolina each subjected
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                                                 1          Case No. 8:19-cv-01998-MWF (KS)
                   RESPONSE OF CHAPTER 7 TRUSTEE FOR CONSUMER ADVOCACY CENTER, INC.
Case 8:19-cv-01998-MWF-KS Document 132 Filed 02/03/20 Page 3 of 5 Page ID #:4935



    1 themselves to the jurisdiction of the Bankruptcy Court for purposes of, among
    2 other things, adjudication of the Claims.1
    3         5.     On October 21, 2019, Plaintiffs filed a complaint against certain
    4 entities and individuals, including the Debtor, asserting among other things
    5 violations of various federal and state consumer protection laws (the
    6 “Complaint”).
    7         6.     On October 21, 2019, this Court entered an Ex-Parte Temporary
    8 Restraining Order with Asset Freeze, Appointment of Receiver, and Other
    9 Equitable Relief, and Order to Show Cause why a Preliminary Injunction should
  10 not Issue [ECF No. 24] (the “TRO”). Thereafter, on November 15, 2019, this
  11 Court entered a Stipulated Preliminary Injunction With Asset Freeze, Appointment
  12 of Receiver, and Other Equitable Relief [ECF No. 103] (the “Preliminary
  13 Injunction”).
  14          7.     The Trustee has no basis to admit, deny or otherwise dispute the
  15 allegations of the Complaint as they relate to the Debtor, including with respect to
  16 the facts alleged to have occurred and the respective laws alleged to have been
  17 violated.
  18          8.     The Trustee understands that the Debtor ceased operations in its name
  19 prior to the Bankruptcy Petition Date. To the extent that the Debtor continued any
  20 such operations since the Bankruptcy Petition Date, including following the
  21 appointment of the Trustee, it has been ceased as a result of the TRO, the
  22 Preliminary Injunction and the appointment of the Receiver.
  23          9.     The Trustee does not oppose the affirmative relief sought in the
  24 Complaint, i.e., the issuance of a permanent injunction against the Debtor as
  25 requested in the Demand for Relief. The Trustee concedes that such relief is an
  26
              1
  27             As of the date hereof, Plaintiff California has not filed a proof of claim in the
        Bankruptcy Case.
  28
        [12339-001/3131787/1]                       2           Case No. 8:19-cv-01998-MWF (KS)
                   RESPONSE OF CHAPTER 7 TRUSTEE FOR CONSUMER ADVOCACY CENTER, INC.
Case 8:19-cv-01998-MWF-KS Document 132 Filed 02/03/20 Page 4 of 5 Page ID #:4936



    1 exception to the automatic stay provisions of the Bankruptcy Code, as it is a proper
    2 exercise of a government’s police and regulatory power. 11 U.S.C. § 362(b)(4).
    3         10.     The Trustee opposes any award by this Court of damages or other
    4 monetary relief against the Debtor as requested in the Demand for Relief for
    5 several reasons, including without limitation the following.
    6         11.     First, awarding such damages or monetary relief in favor of the
    7 Plaintiffs and against the Debtor is subject to the automatic stay of the Bankruptcy
    8 Code, as such relief goes beyond the police or regulatory power of the Plaintiffs.
    9 The appropriate forum for the adjudication of any claims against the Debtor is in
  10 the Bankruptcy Court.
  11          12.     Second, Plaintiffs the Bureau, North Carolina and Minnesota each
  12 have filed the Claims in the Bankruptcy Case and have submitted themselves to the
  13 jurisdiction of the Bankruptcy Court for, among other things, determination and
  14 adjudication of the Claims. On January 9, 2020, the Trustee filed Objections to
  15 each of the Claims filed by Plaintiffs the Bureau, North Carolina and Minnesota in
  16 the Bankruptcy Case [ECF Nos. 187-189 in the Bankruptcy Case].2
  17          13.     On December 20, 2020, the Plaintiffs filed a motion to dismiss the
  18 Bankruptcy Case ECF No. 168 in the Bankruptcy Case] (the “Motion to
  19 Dismiss”).
  20          14.     On January 27, 2020, the Bankruptcy Court entered an order denying
  21 the Plaintiffs’ Motion to Dismiss [ECF No. 195 in the Bankruptcy Case]. In its
  22 ruling on the record on January 22, 2020, the Bankruptcy Court held that the
  23 Trustee’s objections to the Claims were properly founded. As such, the Plaintiffs’
  24
              2
  25           While the Trustee does not generally dispute that the Plaintiffs many have valid, and
     perhaps significant, claims against the Debtor in the Bankruptcy Case on behalf of aggrieved
  26 consumers, the Trustee filed the claim objections due to, among other reasons lack of support for
     the Claims aggregating in excess of $65 million. The Trustee reserves the right to supplement
  27 such claim objections for, among other reasons, potential duplicity of the Claims among the
     Plaintiffs.
  28
        [12339-001/3131787/1]                         3           Case No. 8:19-cv-01998-MWF (KS)
                    RESPONSE OF CHAPTER 7 TRUSTEE FOR CONSUMER ADVOCACY CENTER, INC.
Case 8:19-cv-01998-MWF-KS Document 132 Filed 02/03/20 Page 5 of 5 Page ID #:4937



    1 Claims will be adjudicated, allowed or otherwise disallowed by the Bankruptcy
    2 Court in the Bankruptcy Case.
    3                                 Dated: February 3, 2020.
    4
                                      SONYA S. SLOTT, AS CHAPTER 7 TRUSTEE
    5                                 FOR CONSUMER ADVOCACY CENTER, INC.
    6
    7                                 By:   /s/ Glenn D. Moses, Esq.
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  11                                            Defendant, Consumer Advocacy Center,
                                                Inc.
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        [12339-001/3131787/1]                 4         Case No. 8:19-cv-01998-MWF (KS)
                  RESPONSE OF CHAPTER 7 TRUSTEE FOR CONSUMER ADVOCACY CENTER, INC.
